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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                             NO. CR 05-1849 JH

DANA JARVIS et al.,

              Defendant.

           DEFENDANT AYLA JARVIS’ MOTION FOR SUPPRESS EVIDENCE
                  FROM ILLEGAL TRAFFIC STOP AND SEARCH
                ON OCTOBER 28, 2004 IN BLOOMINGTON, INDIANA

      COMES NOW the Defendant, Ayla Jarvis, by and through her attorney John F.

Robbenhaar, and pursuant to the Fourth Amendment to the United States Constitution,

respectfully requests that the Court suppress evidence seized from the Defendant Ayla

Jarvis on October 28, 2004 in Bloomington, Indiana based on an illegal traffic stop,

illegal search and prolonged detention.

      In support, Ms. Jarvis states the following.

I.    BACKGROUND AND INTRODUCTION

      1.      On October 28, 2004, at approximately 3:45 p.m., the Defendant Ayla

Jarvis was driving a vehicle in Bloomington, Indiana. Law enforcement suspected that

Ms. Jarvis had traveled earlier that day to Bloomington to transport money back to New

Mexico and/or Arizona. After conducting surveillance on Ms. Jarvis in the Bloomington

area, agents decided to stop the vehicle driven by Ms. Jarvis. Accordingly, an Indiana

State trooper followed Ms. Jarvis and, after some time, claims that he observed Ms.

Jarvis make an improper u-turn as well as not signal properly when turning from the
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roadway. It is unclear if the Indiana State Trooper was aware of the prior surveillance

and/or the federal agents’ suspicion of currency transportation at the time of the traffic

stop.

        2.    Indiana State Police Trooper Stailey writes that, after making the traffic

stop, he approached the Defendant and requested her driver’s license and registration.

Trooper Stailey writes that Ms. Jarvis was alone and appeared nervous, and provided

the documents while allegedly apologizing for making an improper u-turn and indicating

that she was from out-of-town and was trying to find her way back to the Monroe

County Airport. Trooper Stailey solicited more details of the travel plans of Ms. Jarvis,

and instructed that Ms. Jarvis wait in her vehicle. Meanwhile, Trooper Stailey returned

to his vehicle to conduct further inquiries of Ms Jarvis’ driver’s license and registration

and request backup.

        3.    Once backup arrived, Trooper Stailey claims that he re-approached Ms.

Jarvis and asked if she would mind if he ran his drug dog around her vehicle.

According to Trooper Stailey, Ms. Jarvis replied that she would not mind if the drug dog

inspected the vehicle. Trooper Stailey then directed Ms. Jarvis back to the officers’

vehicles. Trooper Stailey still had in his possession Ms. Jarvis’ driver’s license and

registration paperwork.

        4.    It is alleged that the drug dog gave a positive alert to the front driver’s side

door. Based upon the drug dog’s alert, Trooper Stailey returned to Ms. Jarvis, who was

then seated in his patrol vehicle, and immediately issued Miranda warnings. Trooper

Stailey stated, however, that Ms. Jarvis was not under arrest but that he “was going to

have to search her person, the vehicle and contents.” Upon information and belief,

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Trooper Stailey did not have Ms. Jarvis sign or execute a written consent to search

form.

        5.    Trooper Stailey conducted a thorough search of the vehicle, and no illegal

items were recovered. Trooper Stailey claims that Ms. Jarvis volunteered that there

was a large sum of United States currency in the vehicle, which he recovered from a

bag located therein. Trooper Stailey writes that, when asked by Ms. Jarvis if she were

going to be arrested, he stated no since it is not illegal to possess currency.

Nonetheless, Trooper Stailey noted that he informed Ms. Jarvis that the money would

be seized, and notified Ms. Jarvis of the forfeiture process. Ms. Jarvis was then allowed

to leave the scene. It was at this point–basically at the moment that Ms. Jarvis was

allowed to leave–that Trooper Stailey finally returned the driver’s license and

registration to Ms. Jarvis.

        6.    The pretextual traffic stop, and warrantless search of the vehicle and

contents therein, were in direct violation of the Defendant Ayla Jarvis’ constitutional

right to be free from unreasonable search and seizure. Consent to search by the

Defendant Ayla Jarvis was not provided or, if the Government claims that it was, such

consent was not freely given and was tainted. In the event that the Government claims

that consent was not necessary based upon the positive drug dog alert, the Defendant

challenges this alert for its accuracy, especially given the fact that no illegal items were

recovered during this search so as to validate the alert. Additionally, the manner in

which the drug dog was deployed, without Trooper Stailey first informing Ms. Jarvis that

she was free to leave and without reasonable suspicion that illegal drugs or contraband

would be found in the vehicle, is also challenged. Finally, the Defendant argues that

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her roadside detention by Trooper Stailey was unnecessarily prolonged. Accordingly,

this Court should suppress all items seized from the Defendant Ayla Jarvis, including

the bulk United States currency and all oral and written statements made by Ms. Jarvis

during or as a result of the illegal detention.

       7.     The Defendant Ayla Jarvis requests an evidentiary hearing on this motion.

       8.     Based on the nature of this motion, the Assistant United States Attorney

James Braun objects to the relief sought.

II     ARGUMENT

A.     THE INITIAL TRAFFIC STOP WAS ILLEGAL

       9.     A traffic stop is a seizure within the meaning of the Fourth Amendment.

United States v. Holt, 264 F.3d 1215, 1220 (10th Cir. 2001). A traffic stop “must be

justified at its inception and the detention must be reasonably related in scope to the

circumstances which justified the interference in the first place.” United States v.

Mendez, 118 F.3d 1426, 1429 (10th Cir. 1997) (internal quotations omitted); United

States v. Anderson, 114 F.3d 1059, 1063 (10th Cir. 1997). Where an officer views

“any... of the multitude of the applicable traffic and equipment regulations” of the

jurisdiction, the stop if justified. United States v. Hunnicut, 135 F.3d 1345 (10th Cir.

1998), quoting Delaware v. Prouse, 440 U.S. 648, 653 (1979).

       10.    In the present case, Trooper Stailey claims that he observed the

Defendant Ayla Jarvis make an illegal u-turn and not properly use a turning signal to

turn from the roadway. There is a question as to the accuracy of Trooper Stailey’s

rendition of the event, and Ms. Jarvis disputes the fact that she either made an illegal u-



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turn or failed to properly use a turning signal. Indeed, while Trooper Stailey makes it

sound as if Ms. Jarvis “immediately apologized for making the u-turn” thereby

suggesting that the illegal u-turn had in fact occurred, Ms. Jarvis only commented upon

the alleged infraction after Trooper Stailey informed her of the reason for the traffic

stop.

         11.   The Defendant Ayla Jarvis submits that the legality of the traffic stop

revolves on a factual dispute. Ms. Jarvis disputes the Trooper’s claim that she

conducted any traffic violation which would justify the stop. While the stop appears to

be clearly pretextual in nature, Ms. Jarvis understands that the motivation of the officer

is irrelevant for purposes of establishing probable cause, and she can not claim that the

stop is illegal simply because it was based on a pretext. Whren v. United States, 517

U.S. 806 , 116 S.Ct. 1769 (1996). Nonetheless, given the surrounding circumstances,

there is a serious question as to the legality of the traffic stop, and whether Trooper

Stailey in fact had probable cause to justify the stop. Clearly, this Court will need to

receive testimony of Trooper Stailey and possibly others to determine this important

issue.

B.       TROOPER STAILEY LACKED PROBABLE CAUSE TO SEARCH OR, EVEN IF
         PROBABLE CAUSE RESULTED FROM A POSITIVE DOG ALERT, PROBABLE
         CAUSE WAS VITIATED BY THE MANNER IN WHICH THE DRUG DOG WAS
         EMPLOYED

         12.   Trooper Stailey indicates that after he had stopped and detained the

Defendant, he waited until a backup officer arrived before he requested permission to

run the drug dog around Ms. Jarvis’ vehicle. Trooper Stailey claims that the dog

positively alerted at the driver’s side door, which then caused Trooper Stailey to read


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Ms. Jarvis her Miranda rights and search the vehicle and its contents.

        13.   Even if the initial traffic stop is deemed legal, the resulting search, seizure

and prolonged detention may still run afoul of the Fourth Amendment. In the present

case, there is a serious concern as to Trooper Stailey’s deployment of the drug dog

without first informing Ms. Jarvis that she was free to leave, since rushing to the use of

the drug dog, in the absence of reasonable suspicion that drugs may be present,

exceeded the scope of the traffic stop. The use of the drug dog essentially amounted

to additional questioning unrelated to the purposes of the stop: “once the purpose of the

stop is satisfied and the underlying reasonable suspicion dispelled, the driver’s

detention generally must end without undue delay.” United States v. Edgerton, 438

F.3d 1043, 1047 (10th Cir. 2006). And even though a trooper may ask questions during

a lawful traffic stop that are unrelated to the stop, see Muehler v. Mena, 544 U.S. 93,

125 S.Ct. 1465 (2005), questioning that extends the valid length of the detention can

still result in a Fourth Amendment violation. See United States v. Alcaraz–Arellano, 441

F.3d 1252, 1258 (10th Cir. 2006). Accordingly, Defendant submits that the use of the

drug dog was improper and illegal, in that it was unrelated to the initial purpose of the

stop.

        14.   While the law in the Tenth Circuit is clear that a positive drug dog alert

provides probable cause to search a vehicle, see United States v. Rosborough, 366

F.3d 1145, 1153 (10th Cir. 2004), such probable cause is vitiated if the drug dog in

question has proven to be improperly or poorly trained, has had problems in accuracy in

the past, or has health problems which might affect its accuracy. See United States v.



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Lambert, 351 F.Supp.2d 1154 (D.Kan. 2004).

       15.    Similar to the legality of the traffic stop, there is a factual dispute as to the

use of the drug dog. After taking possession of Ms. Jarvis’ driver’s license and

registration, and after verifying through a computer check that there were no wants or

warrants for Ms. Jarvis, and after waiting for a backup officer to arrive, Trooper Stailey

requested permission to run his drug dog around the vehicle. At no time did Trooper

Stailey inform Ms. Jarvis that she was free to leave. Accordingly, the manner in which

Trooper Stailey employed his drug dog–by deploying the dog before releasing the

Defendant and then asking for consent–vitiates any probable cause that was obtained

through a positive alert. The resulting search was illegal.

       16.    Finally, once Trooper Stailey informed Ms. Jarvis that the dog positively

alerted to the vehicle, Trooper Stailey claims that Ms. Jarvis volunteered that “there was

a large sum of US currency in the vehicle...” Further questioning by Trooper Stailey

ensued. Clearly, Ms. Jarvis’ statement about there being currency in the vehicle results

directly from Trooper Stailey’s actions, and if it is determined that the drug dog

deployment was improperly done, then Ms. Jarvis’ statement must be suppressed along

with all other items and statements obtained from Ms. Jarvis on that date.

C.     THE DETENTION WAS UNNECESSARILY AND ILLEGALLY PROLONGED

       17.    Once an initial stop is properly made, an officer may request a driver’s

license and vehicle registration, run a computer check on those items, and issue a

citation. United States v. Elliot, 107 F.3d 810, 813 (10th Cir. 1997); Anderson, 114 F.3d

at 1064. The officer may also run a computer check on whether the driver has any



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outstanding warrants of whether the vehicle has been stolen. “Generally, an

investigative detention must last no longer than is necessary to effectuate the purpose if

the stop”, United States v. Patten, 183 F.3d 1190, 1193 (10th Cir. 1999), and “the scope

of the detention must be carefully tailored to its underlying justification.” Florida v.

Royer, 460 U.S. 491, 500, 103 S.Ct. 1319 (1983). This means that once a driver has

produced a valid driver’s license and proof of entitlement to operate the vehicle, an

officer may issue a citation, but then must allow the driver to proceed without further

delay or questioning. Patten, 183 F.3d at 1193, citing United States v. Hunnicut, 135

F.3d at 1349. An officer may question the driver further only if (1) “the officer has an

objectively reasonable and articulable suspicion that the driver is engaged in illegal

activity, or (2) the driver voluntarily consents to further questioning.” Id.

       18.    Assuming arguendo that the initial stop of the Defendant’s vehicle was

constitutionally valid, the detention of the Defendant Ayla Jarvis must be examined to

verify that it didn’t exceed a constitutionally permissible length. Trooper Stailey writes

that after stopping Ms. Jarvis, he obtained her driver’s license and registration, and

proceeded to question her about her travel plans. The Trooper then had her wait in her

vehicle while he returned to his patrol vehicle to conduct radio checks and complete a

written warning. Trooper Stailey then requested backup, and states that another officer

arrived on scene within 2-3 minutes. Curiously, the backup officer was requested to

complete the warning citations, despite the fact that this officer did not observe the

alleged driving infractions. Trooper Stailey resumed his questioning of Ms. Jarvis, and

after some time requested Ms. Jarvis’ consent to run the drug dog around her vehicle.



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The Trooper had Ms. Jarvis step out of the vehicle and wait near the backup officer’s

vehicle. At this time, the Trooper retrieved his drug dog, and then proceeded to have

the dog circle the vehicle. Trooper Stailey claims the dog alerted, after which he

proceeded to read Ms. Jarvis her Miranda warnings. Trooper Stailey then searched

Ms. Jarvis’ vehicle, and located currency inside a blue nylon bag. Nothing illegal was

located during the vehicle search.

       19.    The purpose of the traffic stop, ostensibly, was for a u-turn violation and

failure to use turn signal. Nonetheless, the evidence will show that Trooper Stailey

engaged in lengthy questioning concerning Ms. Jarvis’ travel plans in Indiana. At no

time will the evidence show that Trooper Stailey obtained probable cause or reasonable

suspicion to believe that criminal activity was afoot; Trooper Stailey does note however,

that Ms. Jarvis exhibited nervousness by her “animated behavior” and hands

“excessively shaking”. At no time did Ms. Jarvis consent to further questioning.

       20.    Once Trooper Stailey had obtained the driver’s license and registration,

and had verified that there were no wants or warrants for Ms. Jarvis, he was obligated

to issue any appropriate citations and allow Ms. Jarvis to leave. United States v.

Gregoire, 425 F.3d 872, 879 (10th Cir. 2005). Only if Trooper Stailey developed

reasonable suspicion to believe that Ms. Jarvis was engaged in criminal activity could

the Trooper continue to detain Ms. Jarvis. Because the Trooper never developed this

reasonable suspicion and was limited by the scope of the initial traffic stop, he was

obligated to allow Ms. Jarvis to leave. Asking for consent to run his drug dog around

the vehicle without first informing Ms. Jarvis that she was free to leave, resulted in an

illegal, prolonged detention. It is worth noting that Trooper Stailey kept possession of

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Ms. Jarvis’ driver’s license and registration until the moment that she actually did leave,

after the money was seized, after the vehicle was fully searched, and after he explained

about the forfeiture process and provided Ms. Jarvis a receipt.

III.    CONCLUSION

        21.   Trooper Stailey conducted a pretextual traffic stop of the vehicle being

driven by the Defendant Ayla Jarvis. Despite the fact that the stop was for simple

moving violations–illegal u-turn and failure to use turn signal–Trooper Stailey

unnecessarily detained Ms. Jarvis and refused to allow her to leave. Trooper Stailey

kept in his possession Ms. Jarvis’ driver’s license and registration, and before advising

Ms. Jarvis that she was free to leave, he improperly ran his drug dog around the

exterior of Ms. Jarvis’ vehicle. Trooper Stailey only advised Ms. Jarvis that she was

free to leave once he had completed the search and seizure. As a result of the illegal

traffic stop, of the improper drug dog deployment, and of the prolonged and illegal

detention, Ms. Jarvis suffered a violation of her Fourth Amendment rights. Accordingly,

all items and statements obtained from Ms. Jarvis on October 28, 2004 in Bloomington,

Indiana should be suppressed.

                                          Respectfully submitted:



                                          Filed Electronically
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I HEREBY CERTIFY that a
true and correct copy of the
foregoing pleading was mailed/
delivered to Assistant United States
Attorney James Braun on
October 20, 2006.

Filed Electronically
JOHN F. ROBBENHAAR




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